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2
                                UNITED STATES DISTRICT COURT
3                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION
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5
     ALENA KRILEY,                                        Case No.: 1:22-cv-04832
6
                      Plaintiff,
7
     vs.                                                  PLAINTIFF’S MOTION FOR SUMMARY
8                                                         JUDGMENT
     PAUL KRILEY                                          JUDGE: HON. MARTHA M. PACOLD
9                                                         MAGISTRATE: JEFFREY COLE
10
                      Defendant.

11
                                   MOTION FOR SUMMARY JUDGMENT
12

13         Pursuant to Federal Rule of Civil Procedure 56, Plaintiff Alena Kriley, by her attorney, Scott T.

14   Ferrill, moves for summary judgment on all of Plaintiff’s Complaint, granting the relief sought and
15
     further moves this Court for an award of attorney fees and costs associated with this cause of action.
16
           1. For the reasons set forth in Plaintiff’s contemporaneously filed Memorandum of Law in Sup-
17
              port of Summary Judgment combined with Local Rule 56.1 Statement of Material Facts, and
18

19            Addendum of Exhibits, Plaintiff prays that summary judgment be entered in her favor on

20            Plaintiff’s Complaint.
21
                      WHEREFORE Plaintiff Alena Kriley prays this Court enter summary judgment in
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              her favor on the Plaintiff’s Complaint and against Defendant, Paul Kriley, and grant any
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         Case: 1:22-cv-04832 Document #: 50 Filed: 09/27/23 Page 2 of 2 PageID #:276



1    other relief the Court deems proper.
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                                                        Respectfully submitted,
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                                                        Ferrill Law Firm
4
                                                        BY: /s/ Scott T. Ferrill
5
                                                                Scott T. Ferrill
6    Ferrill Law Firm
     Scott T. Ferrill
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